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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION



UNITED STATES OF AMERICA

Vs.                            CASE NO. 4:07cr00317-18 JMM

KEVIN MONROE HUTSON


                                            ORDER

          Defendant appeared this date on the motion to revoke supervised release (DE #832)

and admitted to violations of his supervised release.

          With agreement by the parties, the motion to revoke supervised release is denied.

Defendant’s conditions of supervised release are modified to require Defendant to live with

his Grandmother for a period of four (4) months under home detention with the use of

electronic home monitoring. Defendant shall be restricted to the residence at all times

except for employment, religious services, and medical appointments, which must be pre-

approved by the supervising officer. Costs associated with electronic monitoring will be

paid by the government. All other conditions of supervised release remain in effect. The

electronic monitor is to be set up within 30 days of the date of this order. Defendant is

released from custody.

          The expiration date of Defendant’s supervised release remains September 25, 2015.

          The Clerk is directed to provide a copy of this Order to the United States Probation

Office.

          IT IS SO ORDERED THIS 1st day of October, 2012.




                                              UNITED STATES DISTRICT JUDGE
